               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH-5


UNITED STATES OF AMERICA,        )
                                 )
                                 )
                   vs.           )              ORDER
                                 )
                                 )
KEITH ARTHUR VINSON.             )
________________________________ )

       THIS MATTER is before the Court on the Government’s oral motion

to revoke the Defendant’s bond.

I.     BACKGROUND

       On October 17, 2013, a jury found the Defendant guilty of Counts

One through Thirteen of the Second Superseding Bill of Indictment. [Doc.

291]. Immediately following the jury’s verdict, the Government moved to

revoke the Defendant’s bond pursuant to 18 U.S.C. § 3143(a)(1) and

requested that the Defendant be detained pending sentencing.             While

conceding that the Defendant was not a danger to others or the community

at large, the Government argued that he was a flight risk. In so arguing,

the Government relied upon the evidence produced at trial as well as

additional documentary evidence that suggests that the Defendant owns or

has access to certain overseas accounts and other assets, thereby giving


     Case 1:12-cr-00020-MR-SCR   Document 292   Filed 10/25/13   Page 1 of 6
him the financial resources to flee.        The Government also produced

evidence that the Defendant had fabricated an email communication to a

co-defendant to make it appear that the Defendant had received a large

sum of money from an investor, thereby demonstrating the Defendant’s

dishonesty. Finally, the Government relied on documentation indicating

that the Defendant was facing the potential foreclosure of his residence, as

showing that the Defendant’s ties to the community were tenuous.

     The Defendant opposed the Government’s motion, arguing that he

was not a flight risk. In support of his argument, the Defendant presented

the testimony of supervising probation officer Robert Ferguson, who

confirmed that the Defendant had complied with all terms and conditions of

his pretrial release. The Defendant himself also took the stand to testify.

The Defendant admitted to fabricating an email communication from Devin

McCarthy and sending the fabricated email communication to co-defendant

Buck Cashion in an attempt to get Cashion “off [his] back” about repaying a

loan to Cashion. He further testified that the potential foreclosure of his

residence was the result of a $800 lien filed by his homeowner’s

association.   The Defendant denied having any type of overseas bank

accounts or other assets at his disposal.


                                     2



   Case 1:12-cr-00020-MR-SCR    Document 292    Filed 10/25/13   Page 2 of 6
II.      ANALYSIS

         Section 3143 of Title 18, United States Code, provides in pertinent

part as follows:

                Except as provided in paragraph (2)1, the judicial
                officer shall order that a person who has been found
                guilty of an offense and who is awaiting imposition
                or execution of sentence, other than a person for
                whom the applicable guideline promulgated
                pursuant to 28 U.S.C. 994 does not recommend a
                term of imprisonment, be detained, unless the
                judicial officer finds by clear and convincing
                evidence that the person is not likely to flee or pose
                a danger to the safety of any other person or the
                community if released under section 3142(b) or (c).
                If the judicial officer makes such a finding, such
                judicial officer shall order the release of the person
                in accordance with section 3142(b) or (c).

18 U.S.C. § 3143(a)(1).            Thus, pursuant to this provision, the Court is

required to detain the Defendant unless the Court finds by clear and

convincing evidence that the Defendant is not likely to flee or pose a

danger to the safety of another person or the community if released. At this

stage in the proceedings, the burden of demonstrating the absence of a

risk of flight or danger to the community is borne by the Defendant. Fed. R.

Crim. P. 46(c).



1
    It is undisputed that paragraph (2) is not applicable in the present case.

                                               3



      Case 1:12-cr-00020-MR-SCR          Document 292      Filed 10/25/13    Page 3 of 6
      The Court concludes that the Defendant has failed to satisfy this

burden.   While the Government concedes that the Defendant is not a

danger, the Defendant has failed to present clear and convincing evidence

that he is not a risk of flight. Although the Defendant has complied with all

terms and conditions of his pretrial supervision, his legal status has now

changed. He is no longer presumed innocent but has been found guilty of

all of the counts of conviction.     The Government maintains that the

Defendant faces a thirty-year maximum sentence and that in light of the

characteristics of his offenses likely faces a lengthy sentence.         These

factors all increase the Defendant’s incentive to flee. See United States v.

Jinwright, No. 3:09-cr-00067-W, 2010 WL 2926084, at *5 (W.D.N.C. July

23, 2010) (Whitney, J.).    Further, while the Defendant has ties to the

community, in that his 18-year-old daughter and girlfriend reside in this

District, such ties cannot be considered to be substantial, as they are

limited to these two individuals, neither of whom relies upon the Defendant

for support.

       Finally, as shall be discussed further in the sealed findings

submitted simultaneously herewith, the Defendant has the potential

financial resources to flee.     The fraudulent schemes for which the

Defendant has been convicted resulted in fraudulent loans in excess of $20
                                     4



   Case 1:12-cr-00020-MR-SCR    Document 292    Filed 10/25/13   Page 4 of 6
million, millions of which have yet to be recovered. The Government has

presented evidence which suggests that the Defendant has access to

overseas accounts and other assets which could aid him in flight.                   For

example, the Government produced an application completed by the

Defendant in October 2010 to open a brokerage account in Brazil. [Gov’t

Ex. DH2].     The Government also produced a Monthly Statement from

Reigold, a Hong Kong-based company, indicating that an account was

opened in the name of Seven Falls, LLC in November 2008. While the

Defendant testified that this statement was nothing more than a

commitment letter, this characterization is belied by the statement itself,

which shows account activity by Seven Falls in January 2009.                     The

available balance of the account as of February 2, 2009 was

$10,100.390.00.       [Gov’t Ex. 535].        Moreover, the evidence at trial

established that the Defendant had represented to Devin McCarthy that this

bank statement was a current and accurate statement of the funds

available to Seven Falls, LLC as of April 2009. For these reasons, the

Court specifically finds the Defendant’s characterization of this document

as something other than an account statement is simply not credible.2


2
  The Court further notes that the Defendant denied having traveled out of the country
since 2005, with the exception of one trip to the Bahamas, but his passport indicates
                                           5



    Case 1:12-cr-00020-MR-SCR       Document 292     Filed 10/25/13   Page 5 of 6
      Based on the foregoing, as well as the sealed findings filed

simultaneously herewith, the Court concludes that the Defendant has failed

to satisfy his burden to show by clear and convincing evidence that he is

not likely to flee. Accordingly, the Government’s oral motion for revocation

of the Defendant’s bond is granted.

      IT IS, THEREFORE, ORDERED that the Government’s oral motion

for revocation of the Defendant’s bond is GRANTED, and the Defendant

shall be detained pending sentencing.

      IT IS SO ORDERED.

                                          Signed: October 25, 2013




that he also traveled to Mexico as recently as 2010.
                                            6



    Case 1:12-cr-00020-MR-SCR        Document 292          Filed 10/25/13   Page 6 of 6
